           Case 4:10-cr-00240-BRW Document 37 Filed 12/22/10 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                4:10CR00240(1-2)-WRW

BARRY MICHAEL EASLEY
MARIE DIANE DOUGLAS

                                           ORDER

       Pending is Defendants’ Joint Motion to Change Venue (Doc. No. 33). The Government

has responded.1 A telephone conference was held at 10:00 a.m. on December 22, 2010. I find

that venue should be changed to the Eastern Division in Helena, Arkansas and the Motion is

GRANTED. A date for trial will be determined later.

       IT IS SO ORDERED this 22nd day of December, 2010.



                                                        /s/Wm. R. Wilson, Jr.
                                                   UNITED STATES DISTRICT JUDGE




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        Doc. No. 35.

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